   Case: 1:22-cv-02865 Document #: 21 Filed: 10/12/22 Page 1 of 13 PageID #:48




                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION


DIANDRE COLLIER aka CARMIN
COLLIER                                                                  Case No: 22-cv-2865
           Plaintiff,
v.                                                                       Judge: Hon. John J. Tharp Jr.

CITY OF CHICAGO and CHICAGO                                              Mag. Jeffrey Cummings
POLICE OFFICER MAHMOUD HALEEM
(#14193),

                       Defendants.
                                                                         JURY TRIAL DEMANDED




              PLAINTIFF’S RESPONSE TO DEFENDANT CITY OF
        CHICAGO’S MOTION FOR ENTRY OF ORDER IN LIEU OF ANSWER

                                               TABLE OF CONTENTS
INTRODUCTION........................................................................................................................1
FACTUAL AND PROCEDURAL BACKGROUND .................................................................2
ARGUMENT ...............................................................................................................................3
I. UNDER CIRCUIT LAW, THE CITY IS A PROPER PARTY TO THIS ACTION...............3
II. THE MOTION ASKS THE COURT TO ALTER CIRCUIT LAW WITHOUT
ARTICULATING A LEGAL BASIS UPON WHICH TO DO SO, AND THE RATIONALES
IT DOES OFFER ARE UNCONVINCING ................................................................................5
      A. De Facto Dismissal of the City, a Proper Party to this Action, Would Not Be a Sound
      Use of the Court’s Inherent Powers ......................................................................................5
      B. The City Should Not Be Permitted to Shift Discovery Burdens to Plaintiff....................6
      C. Concerns About Conflicts of Interest are Vague, Misplaced, and Unpersuasive ............8
      D. The City’s Cited Case Law Does Not Support Granting the Motion ...........................10
CONCLUSION ..........................................................................................................................11




                                                                  i
     Case: 1:22-cv-02865 Document #: 21 Filed: 10/12/22 Page 2 of 13 PageID #:49




         Plaintiff Carmin Collier (“Plaintiff”), by her undersigned counsel, submits this Response
in opposition to Defendant City of Chicago’s (the “City”) Motion for Entry of Order in Lieu of
Answer (“Motion”). In support, Plaintiff states as follows:

                                                INTRODUCTION
         Plaintiff Carmin Collier was attacked by a hammer-wielding Chicago police officer while

observing a political demonstration in May 2020. 1 She was, at the time of the attack, following a

lawful order to leave the area. Almost two years after these events, she brought suit, naming

Chicago police officer Haleem as the Defendant individually responsible for her constitutional

injury, and naming the City as a Defendant pursuant to the Illinois Local Governmental and

Governmental Employees Tort Immunity Act (“Tort Immunity Act”), 745 ILCS 10/9-102. As the

City’s Motion acknowledges, such is the common practice in this Circuit.

         Despite the uncontested adequacy of the allegations in Plaintiff’s Complaint to state federal

and state law claims and establish her right to relief, the City now attempts to avoid answering or

otherwise pleading in response to the Complaint, or indeed participating in the action in any way,

offering the instant Motion for Entry of Order in Lieu of Answer as an attempt to see itself

dismissed from the suit. 2 Though a more appropriate mechanism for seeking dismissal lies

available to defendants in Fed. R. Civ. P. 12(b), the City instead asks this Court to relieve it from

participation via a Motion that identifies no discernable legal standard, nor any compelling reason

to grant the extraordinary relief it seeks. The Motion does cite to three district court holdings, but

these are factually inapposite, procedurally inapposite, or both, and against the overwhelming

weight of Seventh Circuit law besides.




1 Plaintiff’s legal name is Diandre Collier. Plaintiff uses the name Carmin along with she/her pronouns, as made clear
in the Complaint. The City inadvertently misgenders her in its Motion.
2 In addition to relief from discovery and pleading obligations, the Motion also asks this Court to issue an Order setting

forth that “there is no basis for liability on the part of the City articulated in Plaintiff’s Complaint.”

                                                            1
    Case: 1:22-cv-02865 Document #: 21 Filed: 10/12/22 Page 3 of 13 PageID #:50




       At base, the issue before the Court is that the City of Chicago simply does not want to be

involved in yet another lawsuit over the misconduct of one of its officers. That’s all well and good,

but the solution is for the City to exercise its considerable power to stop police misconduct by its

officers, not to cast aside decades of Circuit law out of convenience.

       The relief sought in the City’s Motion—de facto dismissal—would prejudice Plaintiff even

if it were procedurally proper, a concern that far outweighs the administrative burden attendant to

the maintenance and legal defense of its police department. Granting the relief sought in the filing

before the Court, creative though that filing might be, is not the solution, nor would it be an

appropriate exercise of the Court’s inherent powers. The Motion should be denied.

                      FACTUAL AND PROCEDURAL BACKGROUND
       On May 31, 2020, Chicago police officers at the Ford City Mall ordered protestors and

onlookers to disperse from the area, prompting Plaintiff Carmin Collier and her friends, all of

whom were onlookers, to enter Plaintiff’s van and drive out of the mall’s parking lot. Dkt. 1 ¶¶ 13-

17. As she departed—plainly in compliance with the dispersal order—Defendant Officer Haleem

smashed her driver’s side window with a hammer. Id at ¶ 18. Hammer in hand, Defendant Haleem

proceeded to yell at, menace, shove, and grab Plaintiff, ignoring her pleas that he not touch while

violently wrenching her arm. Id at ¶ 20. As Defendant Haleem repeatedly shouted “Get the fuck

out of here,” Plaintiff got back in her van and left the scene, terrified and traumatized, having

suffered injuries that continue to affect her today. Id at ¶¶ 22-23; 26-20.

       Plaintiff brought this suit against Defendant Haleem and the City of Chicago. Against

Haleem, Plaintiff claims violations of her Fourth Amendment rights to be free from unreasonable

seizures of person and property. Dkt. 1 ¶¶ 30-43. Plaintiff has also brought a claim against

Haleem’s former employer, Defendant City, under Illinois law. Id. ¶¶ 44-47. While Defendant

Haleem has answered the Complaint, Dkt. 16, Defendant City declined to file a responsive

                                                  2
     Case: 1:22-cv-02865 Document #: 21 Filed: 10/12/22 Page 4 of 13 PageID #:51




pleading and instead filed the instant Motion indicating that it will indemnify Officer Haleem if he

is found liable to Plaintiff and seeking to be removed from participation in the action. Dkt. 16-17.

                                           ARGUMENT
I. UNDER CIRCUIT LAW, THE CITY IS A PROPER PARTY TO THIS ACTION
        In the Seventh Circuit, Illinois plaintiffs may, and often do, bring a state law claim against

municipalities for indemnification contemporaneous with constitutional claims against police

officer defendants. Cates v. Manning, 2020 U.S. Dist. LEXIS 65004, 2020 WL 1863299, at *3

(N.D. Ill. Apr. 14, 2020) ("[Section] 1983 plaintiffs routinely assert section 9-102 indemnification

claims against municipalities simultaneously with the underlying claims against the individual

officers who may have harmed them."). This practice is well-accepted. See Vinson v. Vermilion

Cty., Ill., 776 F.3d 924, 930 (7th Cir. 2015) (reinstating indemnification claim “dependent on the

validity” of other claims in a Fourth Amendment search case). There is no reason to depart from

this practice in the instant case.

        A statutory indemnification claim under 745 ILCS 10/9-102 reflects the Illinois General

Assembly’s assessment of a municipality’s obligations with regard to the wrongdoing of its

employees. Put differently in Wilson v. City of Chicago, a Jon Burge coerced confession case that

often leads discussion in this Circuit where disputes arise regarding indemnification, section 9-102

“confers a right on the victim of the employee's tort.” 120 F.3d 681, 686 (7th Cir. 1997).

        The Seventh Circuit there made clear that a section 1983 plaintiff need not wait to "proceed

under section 9-102 until a judgment against an individual defendant has become final." Id. at 685

(cleaned up). Indeed, many courts in this Circuit have acknowledged and encouraged the

participation of a municipal indemnifying employer in a constitutional lawsuit, routinely allowing

section 1983 plaintiffs to file 745 ILCS 10/9-102 indemnity claims before they have obtained a

judgment. See, e.g., Sassak v. City of Park Ridge, 431 F. Supp. 2d 810, 822–23 (N.D. Ill. 2006)


                                                  3
     Case: 1:22-cv-02865 Document #: 21 Filed: 10/12/22 Page 5 of 13 PageID #:52




(collecting cases); Griffin v. Meagher, 2009 WL 5174684, *5 (N.D. Ill. Dec. 21, 2009) (“there is

no reason why a plaintiff should not be permitted to proceed with an indemnification claim under

§ 10/9-102 before his actions against municipal employees are final.”) (emphasis added) (Dow,

J.); Walker v. City of Chicago, No. 21 CV 2648, 2022 U.S. Dist. LEXIS 59918, 2022 WL 971871,

at *7 (N.D. Ill. Mar. 31, 2022) (Granting motion to dismiss Monell claim but noting “[b]ecause

the fabricated-evidence claim survives against the individual Defendants, the indemnification

claim survives too.”) (internal citations omitted) (Chang, J.); Cates v. Manning, 2020 WL

1863299, at *3 (N.D. Ill. Apr. 14, 2020) (rejecting municipal defendant’s request for a similar

order as that sought here – including a request to be excused from discovery – on the grounds that

the request was “tantamount to dismissal,” which was not appropriate because the plaintiff had

alleged viable claims) (Alonso, J.).

        The City’s Motion concedes that the law is such that it is a proper party to the action. Dkt.

17, ¶ 5, but it does not offer a convincing legal basis for departing from it, as explained in Section

II, supra. The Motion departs from firm legal ground, however, when it asserts that a promise to

indemnify in the event of individual liability means that it can avoid answering the Complaint and

participating in discovery, much less being absolved of liability via judicial order without

answering or filing a responsive pleading. See Dkt. 17, Wherefore ¶. And although the City has

offered, in its Motion, to admit that Officer Haleem acted in the scope of his employment when he

attacked Plaintiff with a hammer, this admission and implicit promise of indemnification cannot

serve to dismiss the claim because the fact of Defendant Haleem’s liability must be established via

judgment. See Loza City of Chicago, No. 09 CV 2474, 2009 U.S. Dist. LEXIS 89582, 2009 WL

3125542, at *1 (N.D.Ill. Sept. 25, 2009) (“the actual fact that gives rise to a claim under § 9-102

is the court entering judgment against the employee defendant, even though it may be appropriate

for a plaintiff to bring the claim in anticipation of that fact") (Shadur, J.).


                                                    4
    Case: 1:22-cv-02865 Document #: 21 Filed: 10/12/22 Page 6 of 13 PageID #:53




        This sought departure from 7th Circuit practice is not backed by sound legal authority,

should be rejected, and the Motion should be denied.

II. THE MOTION ASKS THE COURT TO ALTER CIRCUIT LAW WITHOUT
ARTICULATING A LEGAL BASIS UPON WHICH TO DO SO, AND THE RATIONALES
IT DOES OFFER ARE UNCONVINCING
        The Motion gestures at the Court’s inherent powers, but does not define them or outline

why granting the extraordinary relief it seeks would be an appropriate use thereof. Its concerns

regarding the burden of discovery and conflicts of interest are overwrought, and its legal authority

is misplaced. The Motion should be denied.

        A. De Facto Dismissal of the City, a Proper Party to this Action, Would Not Be a Sound
        Use of the Court’s Inherent Powers
        The Motion seeks to alter Circuit law without offering any legal standard against which to

measure its claim to relief, and should be denied on the basis of that omission alone. Plaintiff is

left to infer that the Motion asks the Court to use its inherent powers to grant the sought relief.

        “A district court possesses inherent powers that are ‘governed not by rule or statute but by

the control necessarily vested in courts to manage their own affairs so as to achieve the orderly

and expeditious disposition of cases.’” Dietz v. Bouldin, 579 U.S. 40, 45 (2016) (quoting Link v.

Wabash R. Co., 370 U.S. 626, 630–631 (1962)). “The inherent powers of federal courts are those

which ‘are necessary to the exercise of all others.’” Roadway Exp., Inc. v. Piper, 447 U.S. 752,

764 (1980) (quoting United States v. Hudson, 7 Cranch 32, 34, 3 L.Ed. 259 (1812)). These powers,

when exercised, should be a “reasonable response to the problems and needs” of securing the aim

of justice in judicial administration. Dietz v. Bouldin, 579 U.S. at 45–46 (quoting Degen v. United

States, 517 U.S. 820, 823-824 (1996)). The exercise of these powers “cannot be contrary to any

express grant of, or limitation on, the district court's power contained in a rule or statute.” Id.




                                                   5
     Case: 1:22-cv-02865 Document #: 21 Filed: 10/12/22 Page 7 of 13 PageID #:54




         Here, it is clear that the remedy Defendant seeks—in substance, dismissal from the

action— does in fact implicate powers governed at least one “rule or statute,” namely, Rule 12(b).

Dietz, 579 U.S. at 45-46; Fed. R. Civ. P. 12(b). If a party wants itself relieved from defending an

action, one option is to assert defenses in a responsive pleading and ask for dismissal. Fed. R. Civ.

P. 12(b). These arguments may then be assessed and evaluated against established standards

developed for like situations. While all parties may not like a court’s ruling on any given Rule

12(b) motion, the baseline from which argument and analysis proceeds is, theoretically,

nonetheless commonly understood and intelligible. This Rule-bound state of affairs advances the

“fair administration of justice,” Dietz, 579 U.S. at 45, that inherent powers are designed to further,

and does so without the necessity of their exercise.

         Defendant’s Motion, understandably, steers clear of Rule 12(b), given that the

overwhelming weight of legal authority indicates that it is properly party to the case as a Defendant

to Plaintiff’s state law indemnification claim. See Section I, infra. But this does not provide a

justification to end-run the Federal Rules and seek dismissal based on the Court’s inherent powers.

See Cates, 2020 WL 1863299, at *3 (relief akin to that sought here “tantamount to dismissal”). 3

         As such, the exercise of inherent powers to grant Defendant’s sought relief here would be

a departure of authority for the Court, and an unsound course given the avenues for dismissal and

defense already articulated by the Rules of Civil Procedure. The exercise of judicial power

Defendant seeks—and one must presume, because the Motion does not explain the legal basis for

the relief it seeks—would be “contrary to any express grant of or limitation … contained in a rule

or statute,” Dietz, 579 U.S. at 45-46, and thus should not be undertaken.

         B. The City Should Not Be Permitted to Shift Discovery Burdens to Plaintiff


3Fed. R. Civ. P. 41(b), which also outlines the contours of judicial power with regard to dismissal, is not helpful to
Defendant in the present case either—Plaintiff has not failed to comply with the Rules, nor has she failed to
prosecute her action.

                                                           6
    Case: 1:22-cv-02865 Document #: 21 Filed: 10/12/22 Page 8 of 13 PageID #:55




       The Motion raises a series of concerns regarding its participation in this case, among them

the burden of responding to discovery. Plaintiff respectfully submits that this is not sufficient

reason to grant the sought relief, which is extraordinary.

       Although there is a superficial allure to the notion that the City of Chicago has a lot on its

plate such that it should be relieved wholesale from defending another police misconduct case to

which it is a proper defendant, in practice, such an argument does not withstand testing. For

example, if the Motion is granted and the City is relieved from discovery obligations, its agents

and constituent agencies will nonetheless possess relevant and discoverable information by virtue

of the City’s role as employer of Defendant Haleem and operating authority of the Chicago Police

Department, Civilian Office of Police Accountability, Office of Emergency Management and

Control, and other entities. COPA, for example, may possess records and statements from any

investigation that may have occurred into the attack; CPD may possess employment records,

disciplinary records, or other information about both Defendant Haleem and other CPD officers

present at the time of the attack; OEMC may possess City data that would assist in the

determination of the action; the list goes on. All of these documents are in the City’s possession,

and none of these documents are in possession of Defendant Haleem, vastly enlarging the nature,

expense, and complexity of the action should the City not participate as the law requires.

(Defendant Haleem, further, has retired from CPD, leaving him with even less access to relevant

records and information.)

       Relieving the City from discovery obligations due to an alleged burden it bears because of

its own officers’ cumulative police misconduct, and shifting those obligations to Plaintiff, would

be a counter-intuitive and fundamentally unjust result. Carmin Collier should not have to arrange

for service of subpoenas to a round-robin cast of different departments, agencies, and attorneys to

obtain information she needs to prosecute her claim when decades of precedent indicate that the


                                                 7
     Case: 1:22-cv-02865 Document #: 21 Filed: 10/12/22 Page 9 of 13 PageID #:56




City is a proper defendant from whom she could request documents via Rule 34. “[T]he Court's

normal processes for limiting discovery to what is relevant and proportional to the needs of the

case under Rule 26 are adequate to protect the moving defendants against overly burdensome

discovery requests.” Cates, 2020 WL 1863299, at *4.

        Similarly, it is not even clear that the burden would be relieved on the City. It would still

have to respond to Plaintiff’s expensive, more attenuated attempts to seek information that it

possesses, and would need attorneys to handle those tasks, as well, to say nothing of any motion

practice arising from contested subpoenas to the now non-party City’s constituent agencies. See

Cates, 2020 WL 1863299, at *4 (noting while rejecting order similar to that sought here that

“defendants may well have certain information that is of use in determining the merits of plaintiff's

claims, in which case the order defendants seek may hinder the speedy resolution of this case rather

than protect against a waste of resources”). Defendant also notes that it should not be obligated to

propound discovery to Plaintiff in this matter—if the Motion is denied, that choice will remain the

City’s and the City’s alone (Plaintiff certainly will not insist on it).

        In short, the claim before the Court—which is Plaintiff’s to prosecute as she sees fit, within

the Rules—will be disposed of in a more just and efficient way if the City remains an active

participant in the action.

        C. Concerns About Conflicts of Interest are Vague, Misplaced, and Unpersuasive
        The City’s Motion also raises the possibility of conflicts of interest between itself and its

officer-employees should it remain in the case. The City has, again, not offered any legal standard

against which to evaluate its Motion, or its particular arguments regarding conflict and burden.

But under any metric, its conclusion—that it should be relieved wholesale from participation in

the suit as a defendant because of a potential conflict in its Law Department—is an erroneous one.




                                                    8
    Case: 1:22-cv-02865 Document #: 21 Filed: 10/12/22 Page 10 of 13 PageID #:57




        The City notes that there is the possibility of a conflict of interest between itself and its

officers. Dkt. 17 ¶ 7. It notes that in the context of section 1983 claims, “[r]esolution of [conflicts

of interest between City and officers are] not easily remedied and, often, the City must task a

separate lawyer or lawyers to represent the City.” Id. While all of this may be true, the City’s error

comes as it attempts to leverage this hypothetical situation into a sufficient reason for granting its

Motion.

        The City no doubt speaks from experience when it asserts that conflicts of interest may

arise during a police misconduct lawsuit, and that these conflicts may emerge at different times or

be cumbersome to remedy. Plaintiff does not dispute this, except to note the City’s Motion remains

lacking in detail in that it does not articulate what conflicts of interest rules it anticipates contending

with, in this case or any, and also in that it does not offer a legal rule through which a party may

be dismissed from a lawsuit because of a potential conflict of interest. The City makes no reference

to any specific facts of this case which present potential or actual conflicts of interest motivating

the concern. Rather, the City maintains that as a result of being named as a Defendant, the potential

for an unspecified conflict of interest that could require “needless complication and drain of

resources” for the City to remedy makes their continued participation in this case unjustifiable.

Dkt. 17 ¶ 7. (To the extent the City does identify the potential conflicts of interest that should

motivate this Court to grant their Motion, it does so by way only of speculative example, related

to simultaneous representation in a COPA proceeding and a federal lawsuit.)

        The City also fails to point to any judicial decision granting effective dismissal as a remedy

to a conflict of interest. Indeed, the risk of conflicted representation was not even raised or

addressed in any of the three cases the City cites as persuasive or exemplary authority for its

Motion. Dukes v. Washburn, Case No. 21 C 3672, Dkt. 78, 81 (N.D. Ill. June 28, 2022); Wilson v.




                                                    9
    Case: 1:22-cv-02865 Document #: 21 Filed: 10/12/22 Page 11 of 13 PageID #:58




Burge, et al., Case No. 21 C 3487, Dkt. 42, 133 (N.D. Ill. Mar. 4, 2022); Adamidis v. Cook County,

et al., Case No. 19 C 7652, Dkt. 16, 18 (N.D. Ill. Feb. 10, 2020).

       If the City is contending with a real or prospective conflict of interest, it has the same

options other attorneys or law firms do: it may move to withdraw, conduct screening and walling

procedures between its teams of attorneys, or take other measures authorized by statute and ethical

rules. Regardless of what steps it may take here or elsewhere, though, the City’s concerns about

conflicts of interest should not move this Court to offer the unprecedented relief sought, and the

City’s Motion should be denied.

       D. The City’s Cited Case Law Does Not Support Granting the Motion
       In support of its Motion, the City cites three district court cases where indemnifying

municipalities have been allowed to exit litigation in an equivalent or similar manner as the City

attempts to achieve here. Dkt. 17 ¶ 10. These cases are variously distinguishable, decided on non-

substantive grounds, and lacking a specific standard that is applicable to this case.

       First, in Dukes v. Washburn, No. 21 CV 3672 (N.D. Ill. June 28, 2022), the defendant

municipality’s Motion for Entry of Order in Lieu of Answer went uncontested by the plaintiff. Id.

Dkt. 78, 81. Here, the Motion is disputed, rendering this case of limited usefulness. Second, in

Wilson v. Burge, et al., Case No. 21 CV 3487, (N.D. Ill. Mar. 4, 2022), the Court granted the

indemnifying county’s Motion for Entry of Order in Lieu of Answer on the basis of the Plaintiff’s

admission that it remained in the complaint for the sole purpose of indemnification. Dkt. 42, 133.

Plaintiff makes no such admission here. Finally, the City cites Adamidis v. Cook County, et al.,

Case No. 19 CV 7652, (N.D. Ill. Feb. 10, 2020), where, like Dukes, the plaintiff did not respond

or object to the County’s Motion for Entry of Order in Lieu of Answer, which is, again, not the

situation here. Dkt. 16, 18.




                                                 10
    Case: 1:22-cv-02865 Document #: 21 Filed: 10/12/22 Page 12 of 13 PageID #:59




       Because none of its authority addresses the present situation, and nor is any of those

holdings binding upon this Court in the first place, the Motion should be denied.

                                        CONCLUSION
       The City’s Motion seeks to remove itself from a case in which it is a proper party, and does

so while articulating no legal standard for assessing the issue and while bypassing the avenues to

seeking dismissal available to it in the Rules. It overstates the hypothetical burden to itself of

defending this action, and ignores the undue prejudice to Plaintiff of its absence. The Motion

should be denied in its entirety.

                                                                 Respectfully submitted,

                                                                 /s/ Daniel Massoglia
                                                                 One of Plaintiff’s Attorneys




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                                               11
   Case: 1:22-cv-02865 Document #: 21 Filed: 10/12/22 Page 13 of 13 PageID #:60




                              CERTIFICATE OF SERVICE
I, Ashley N. Rodriguez, hereby certify that I served a copy of this document on all counsel of
record on October 12, 2022 by using the Court’s CM/ECF system, which generates electronic
notice to all parties.
                                                                 Respectfully submitted,
                                                                 /s/ Ashley N. Rodriguez




                                             12
